IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHARLES TALBERT : CIVIL ACTION
V. : NO. 18-1620

BLANCHE CARNEY, et al.

ORDER

AND NOW, this 31% day of May 2019, upon considering pro se Plaintiff's Motion for a
preliminary injunction (ECF Doc. No. 57), Defendants’ Response (ECF Doc. No. 75), after
evaluating the credibility of several witnesses and admitted exhibits adduced during our
extensive May 29, 2019 preliminary injunction hearing, upon finding consistent with the
forthcoming Findings of Fact and Conclusions of Law Plaintiff did not adduce evidence of
prison officials’ deliberate indifference to his Eighth Amendment rights which would require we
enter a preliminary mandatory injunction requiring its contracted medical professionals prescribe
Flexeril muscle relaxant medication on an automatic renewal basis rather than as-needed based
on sick call requests and medical professional judgment or provide him outside exercise without
restraint while he is classified in administrative segregation custody but noting the undisputed
evidence shows the Defendants may not be affording Plaintiff with the required two hours of
time outside the cell, itis ORDERED:

1. Plaintiffs Motion for preliminary injunction (ECF Doc. No. 57) is DENIED as
Plaintiff did not establish a likelihood of success on the merits on any claim relating to his
present medical care under the Eighth Amendment or access to exercise; has not established
imminent harm to him without the automatic renewal of Flexeril medication or by not being

outside without restraints while he is on administrative segregation; and, the balance of the
equities strongly favor the Defendant given a lack of proof of Eighth Amendment imminent
harm; and,

2. On or before June 10, 2019, Defendants shall file a memorandum not exceeding
three pages either confirming compliance with Pennsylvania law on Plaintiff's recreation time

outside of the cell or showing cause as to why we should not immediately order allowing two

BE

KEARNEY,/J.

hours of daily recreation time.

 
